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                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA




     MARGARITA GHAZARYAN,                 CV 21-6177 DSF (MAAx)
         Plaintiff,
                                          Order GRANTING Motion to
                     v.                   Remand (Dkt. 31)

     HOBBY LOBBY STORES, INC.,
     et al.,
             Defendants.



       On August 20, 2021, Plaintiff filed a first amended complaint (FAC)
    that added two non-diverse defendants. Because this case was removed
    from state court, the addition of the defendants, if allowed, would
    require remand to state court. Plaintiff now moves for remand. The
    Court deems this matter appropriate for decision without oral
    argument. See Fed. R. Civ. P. 78; Local Rule 7-15.

       In a typical case, the Court would find that the ability to file the
    FAC as a matter of right under Rule 15(a) was superseded by 28 U.S.C.
    § 1447(e). Section 1447(e) allows amendments that would destroy
    diversity only in the discretion of the district court. “If after removal
    the plaintiff seeks to join additional defendants whose joinder would
    destroy subject matter jurisdiction, the court may deny joinder, or
    permit joinder and remand the action to the State court.” 28 U.S.C. §
    1447(e).

      However, in this case, all three defendants answered the FAC, via
    two separate answers, rather than seeking to strike it. One answer
    was filed on August 31 and the other was filed on September 14 – one
    day prior to the filing of the motion to remand. There is no indication
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    in the record that any defendant objected to the filing of the FAC until
    the opposition to the motion to remand was filed on September 27 –
    over a month after the FAC was filed and almost a month after the first
    answer was filed. In this context, the Court finds that defendants
    acquiesced to the filing of the FAC and the case should be remanded.

       The motion to remand is GRANTED. The case is REMANDED to
    the Superior Court of California, County of Los Angeles.

       IT IS SO ORDERED.

     Date: October 15, 2021                ___________________________
                                           Dale S. Fischer
                                           United States District Judge




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